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 1   SALVATORE SCIANDRA, Bar No. 58256
     Attorney at Law
 2   2300 Tulare Street, Suite 230
     Fresno, CA 93721
 3   Telephone: 559-233-1000
     Facsimile: 559-233-6044
 4
 5   Attorney for Defendant, LESLIE PETER BOWCUT
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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                  EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )        CASE NUMBER: CR-F-02-5301 OWW
                                                      )
11                           Plaintiff,               )        STIPULATION AND ORDER FOR A
                                                      )        RESETTING OF HEARING ON
12   v.                                               )        REPORT OF PROBATION OFFICER
                                                      )        and SENTENCING
13   LESLIE PETER BOWCUT,                             )
                                                      )
14                           Defendant.               )
                                                      )
15
16            IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and the
17   defendant by and through his attorney, SALVATORE SCIANDRA, that the date set for hearing on the
18   Presentence Report of the Probation Officer and sentencing be continued for the following reasons:
19                   1. That just prior to May 16, 2005, the date set for hearing on the Report of the
20            Probation Officer and sentencing, it was determined that there was a mutual
21            misunderstanding between the defendant and the government as to what the
22            government was going to recommend as a downward departure.
23                   2. That it was stipulated between the defendant and the government that
24            sentencing would be continued until the current date for RPO and sentencing, in order
25            to resolve the misunderstanding and arrive at an agreement as to what the government’s
26            recommendation would be.
27   ///
28   ///
        Case 1:02-cr-05301-DAD Document 415 Filed 05/27/05 Page 2 of 2


 1                  3. That resolving this misunderstanding has required not only meetings between
 2          counsel for the defendant and the government, but also review of past meetings
 3          between the defendant, the government and law enforcement agents from various law
 4          enforcement agencies, both state and federal, involved in the investigation and
 5          prosecution of this case.
 6                  4. That although progress has been made in resolving the issues underlying the
 7          misunderstanding between the defendant and the government, more time is required to
 8          come to a final resolution.
 9          For the foregoing reasons, it is respectfully requested that the RPO and sentencing in this
10   matter, currently set for May 31, 2005 at 1:30 p.m. be vacated and reset for June 20, 2005 as 1:30 p.m..
11                                                          Respectfully submitted,
12
13   DATED: May 26, 2005                                    /s/ Salvatore Sciandra
                                                            SALVATORE SCIANDRA
14                                                          Attorney for Defendant,
                                                            LESLIE PETER BOWCUT
15
16
17   DATED: May 26 2005                                      /s/ Jonathan B. Conklin
                                                            JONATHAN B. CONKLIN
18                                                          Assistant United States Attorney
19                                                          Stipulation was agreed to with Mr. Conklin.
20
21                                                   ORDER
22          IT IS SO ORDERED.
23
24   DATED: May 26         , 2005                           /s/ OLIVER W. WANGER
25                                                          HONORABLE OLIVER W. WANGER
                                                            United States District Court Judge,
26                                                          Eastern District of California
27
28

     U.S. v. BOWCUT
     STIPULATION AND ORDER FOR A RESETTING OF HEARING ON REPORT OF PROBATION OFFICER and SENTENCING
     CASE NO.: CR-F-02-5301-OWW                                                                             2
